Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 1 of 109 PageID #:17




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 2 of 109 PageID #:18




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 3 of 109 PageID #:19




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 4 of 109 PageID #:20




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 5 of 109 PageID #:21




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 6 of 109 PageID #:22




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 7 of 109 PageID #:23




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 8 of 109 PageID #:24




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 9 of 109 PageID #:25




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 10 of 109 PageID #:26




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 11 of 109 PageID #:27




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 12 of 109 PageID #:28




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 13 of 109 PageID #:29




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 14 of 109 PageID #:30




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 15 of 109 PageID #:31




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 16 of 109 PageID #:32




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 17 of 109 PageID #:33




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 18 of 109 PageID #:34




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 19 of 109 PageID #:35




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 20 of 109 PageID #:36




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 21 of 109 PageID #:37




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 22 of 109 PageID #:38




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 23 of 109 PageID #:39




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 24 of 109 PageID #:40




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 25 of 109 PageID #:41




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 26 of 109 PageID #:42




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 27 of 109 PageID #:43




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 28 of 109 PageID #:44




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 29 of 109 PageID #:45




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 30 of 109 PageID #:46




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 31 of 109 PageID #:47




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 32 of 109 PageID #:48




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 33 of 109 PageID #:49




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 34 of 109 PageID #:50




                                                                                                       Exhibit A
                                                                                              Notice of Removal
REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 35 of 109 PageID #:51




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 36 of 109 PageID #:52




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 37 of 109 PageID #:53




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 38 of 109 PageID #:54




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 39 of 109 PageID #:55




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 40 of 109 PageID #:56




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 41 of 109 PageID #:57




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 42 of 109 PageID #:58




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 43 of 109 PageID #:59




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 44 of 109 PageID #:60




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 45 of 109 PageID #:61




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 46 of 109 PageID #:62




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 47 of 109 PageID #:63




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 48 of 109 PageID #:64




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 49 of 109 PageID #:65




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 50 of 109 PageID #:66




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 51 of 109 PageID #:67




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 52 of 109 PageID #:68




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 53 of 109 PageID #:69




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 54 of 109 PageID #:70




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 55 of 109 PageID #:71




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 56 of 109 PageID #:72




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 57 of 109 PageID #:73




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 58 of 109 PageID #:74




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 59 of 109 PageID #:75




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 60 of 109 PageID #:76




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 61 of 109 PageID #:77




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 62 of 109 PageID #:78




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 63 of 109 PageID #:79




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 64 of 109 PageID #:80




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 65 of 109 PageID #:81




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 66 of 109 PageID #:82




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 67 of 109 PageID #:83




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 68 of 109 PageID #:84




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 69 of 109 PageID #:85




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 70 of 109 PageID #:86




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 71 of 109 PageID #:87




                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 72 of 109 PageID #:88




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 73 of 109 PageID #:89




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 74 of 109 PageID #:90




                                                                                                    Exhibit A
                                                                                           Notice of Removal
 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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                                                                                                    Exhibit A
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 79 of 109 PageID #:95




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 80 of 109 PageID #:96




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 81 of 109 PageID #:97




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 82 of 109 PageID #:98




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 84 of 109 PageID #:100




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 85 of 109 PageID #:101




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 86 of 109 PageID #:102




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 87 of 109 PageID #:103




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 88 of 109 PageID #:104




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 89 of 109 PageID #:105




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 90 of 109 PageID #:106




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 91 of 109 PageID #:107




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 92 of 109 PageID #:108




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
Case: 1:23-cv-13849 Document #: 1-2 Filed: 09/18/23 Page 93 of 109 PageID #:109




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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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 REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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  REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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  REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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  REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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  REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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  REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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  REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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  REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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  REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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  REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
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  REQUEST RECEIVED ON-DEBLASIO@DGLLC.NET-08/27/2023 10:14:28 AM DOCUMENT SUPPLIED ON 08/29/2023 12:01:46 PM # 17197227668
